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Nouf Dizdarevic
1261 Fenton Ridge Dr.
Fenton, MO 63026
September 26, 2022


The Honorable Ronnie L. White
United States District Judge
United States District Court Eastern District of Missouri
111 South Tenth Street St. Louis, MO 63102


Dear Judge White,

         I am honored to write this letter to you on behalf of Mohammed Almuttan. I want to start
by introducing myself; my name is Nouf Dizdarevic. Mohammed Almuttan has been a family
friend who I have looked up to as a fatherly figure for as long as I can remember. Mr. Almuttan
employed me when I needed a job; I was a struggling college student that couldn't afford to pay
for books, supplies, and tuition. I wouldn't be where I am today without him. Mohammed
Almuttan helped fund my education. I am currently a junior at Chamberlain University College
of Nursing, pursuing a nursing degree.
         Mr. Almuttan has always been there for me when things were rough. I never had a father
figure, which led me to have anxiety and depression growing up, but I never opened up about it
to anybody, not even my parents. Mr. Almuttan saw that I was depressed and I wasn't myself
when I came to work. He helped me open up about my struggles, always asked if I needed help
with anything, and tried to be there for me as a father. I am incredibly grateful for him and to
have him in my life. I wouldn't be who I am as a person today if it weren't for him.
         When I got married, my husband and I struggled financially to the point where we didn't
have enough money to buy groceries. I was working and going to school then, and my husband
and I were living paycheck to paycheck. When Mr. Almuttan went somewhere, such as Sam's
Club, he would always call me and ask me if I needed any groceries or if he could drop some
things off for the house. Mr. Almuttan sees me as one of his daughters and takes care of me. And
that's something I will never forget.

Thank you for taking the time to read this.

Sincerely,




Nouf Dizdarevic
